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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                        PEOPLE OF THE STATE OF
                                   7    CALIFORNIA, et al.,                           Case No. 4:20-cv-05200-JSW

                                   8                 Plaintiffs,
                                                                                      CLERK'S NOTICE VACATING
                                   9           v.                                     HEARING ON CROSS-MOTIONS FOR
                                                                                      SUMMARY JUDGMENT
                                  10    THE OFFICE OF THE COMPTROLLER
                                        OF THE CURRENCY, et al.,                      Re: Dkt. Nos. 37, 44
                                  11
                                                     Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14                YOU ARE HEREBY NOTIFIED that the hearing on the Cross-Motions for

                                  15         Summary Judgment, scheduled on May 7, 2021 at 9:00 a.m. before the HONORABLE

                                  16         JEFFREY S. WHITE, is vacated. A written ruling shall issue.

                                  17

                                  18   Dated: May 6, 2021
                                                                                    Susan Y. Soong
                                  19                                                Clerk, United States District Court
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                                  21
                                                                                    By: ________________________
                                  22                                                Jennifer Ottolini, Deputy Clerk to the
                                                                                    Honorable JEFFREY S. WHITE
                                  23                                                jswcrd@cand.uscourts.gov

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